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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 18-356V
                                      Filed: August 1, 2022
                                         UNPUBLISHED


    Estate of KENNETH ARMSTRONG,
    Decedent, by and through, ALICEA
    ARMSTRONG, as Personal
    Representative,                                          Joint Stipulation on Damages;
                                                             Tetanus, diphtheria, acellular
                         Petitioner,                         pertussis (“Tdap”) vaccine; Acute
    v.                                                       disseminated encephalomyelitis
                                                             (“ADEM”)
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Isaiah Kalinowski, Bosson Legal Group, Fairfax, VA, for petitioner.
Mary Holmes, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

        On March 7, 2018, Alicea Armstrong (“petitioner’), as the personal representative
of the Estate of Kenneth Armstrong (“Mr. Armstrong”), filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq., 2 (the “Vaccine Act”). Petitioner alleges that Mr. Armstrong suffered acute
disseminate encephalomyelitis (“ADEM”). Petition at 5; Stipulation, filed August 1,
2022, at ¶ 4. Mr. Armstrong passed away on July 17, 2017; and petitioner further
alleges that his death was the sequela of his alleged vaccine-related injury. Petition at
9, Stipulation at ¶ 4. Petitioner further alleges that there has been no prior award or
settlement of a civil action for damages as a result of his condition, and that his vaccine
was administered in the United States. Petition at 9; Stipulation at ¶¶ 3-5. “Respondent


1
  Because this decision contains a reasoned explanation for the special master’s action in this case, it will
be posted on the United States Court of Federal Claims’ website in accordance with the E-Government
Act of 2002. See 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
Internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information the disclosure of which would constitute an unwarranted invasion of privacy.
If the special master, upon review, agrees that the identified material fits within this definition, it will be
redacted from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinaf ter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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denies that the Tdap vaccine caused Mr. Armstrong’s alleged ADEM, any other injury,
or his death. ” Stipulation at ¶ 6.

        Nevertheless, on August 1, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as the decision of the Court in awarding damages, on the terms
set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $235,250.00 in the form of a check payable to petitioner as
        legal representative of the estate of Kenneth Armstrong. Stipulation at ¶ 8.
        This amount represents compensation for all items of damages that would be
        available under § 15(a). Id.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment in accordance with this decision. 3


IT IS SO ORDERED.

                                         s/Daniel T. Horner
                                         Daniel T. Horner
                                         Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                     2
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